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                    1:18-cv-02921-JMF
                        18-2856, Document
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                                                                                               18-cv-2921
                                                                                                18-cv-5025
                                                                                                 Furman, J.


                              United States Court of Appeals
                                                   FOR THE
                                            SECOND CIRCUIT
                                            _________________

                    At a stated term of the United States Court of Appeals for the Second
      Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
      in the City of New York, on the 2nd day of October, two thousand eighteen.

      Present:
                     Pierre N. Leval,
                     Rosemary S. Pooler,
                     Richard C. Wesley,
                                       Circuit Judges.                                      Oct 02 2018



      In Re: United States Department of Commerce, Wilbur L. Ross,
      in his official capacity as Secretary of Commerce, United States           18-2652
      Census Bureau, an agency within the United States Department               18-2659
      of Commerce, Ron S. Jarmin, in his capacity as the Director of             18-2856
      the U.S. Census Bureau,                                                    18-2857

                                    Petitioners.


      Petitioners request a stay of discovery in Nos. 18-2652 and 18-2659, including the deposition of
      Acting Assistant Attorney General Gore, pending review by the Supreme Court. We have
      considered the relevant factors and conclude that a stay in those cases is not warranted. See U.S.
      S.E.C. v. Citigroup Glob. Mkts. Inc., 673 F.3d 158, 162 (2d Cir. 2012). Upon due consideration,
      it is hereby ORDERED that the request for a stay is DENIED.


                                                   FOR THE COURT:
                                                   Catherine O’Hagan Wolfe, Clerk of Court




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